            Case 4:99-cr-40036-JPG                     Document 191 Filed 10/28/10                     Page 1 of 3           Page ID
~AO 245D                                                         #155
              (Rev. 12/07) Judgment in a Criminal Case for Revocations
              Sheet I



                                      UNITED STATES DISTRICT COURT                                                    c      Ocr 28
                                                                                                                   SOfJ~X'!~ fJ. s  2010
                                                           Southern District of Illinois                                 ''TN D . DIS.,.
                                                                                                                          13I:N/'S"'I?ICITlc.,.
                                                                                                                                ON      ""0 CO u
        UNITED STATES OF AMERICA                                          Judgment in a Criminal Case                                O~~'c: Ill/NIT.,..
                              v.                                          (For Revocation of Probation or Supervised Release)                       O'S
               STEPHEN L. NEVINGS

                                                                          Case No. 4:99CR40036-003-JPG
                                                                          USM No. 04650-025
                                                                            Melissa A. Day, AFPD
                                                                                                   Defendant's Attorney
THE DEFENDANT:
if admitted guilt to violation of condition(s)           as alleged below                  of the term of supervision.
o was found in violation of condition(s)                _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.

The defendant is adjudicated gUilty of these violations:


Violation Number              Nature of Violation                                                              Violation Ended
Statutory                          The defendant unlawfully possessed marihuana                                03/16/2009



Standard # 5                       The defendant failed to work regularly at a lawful occupation



       The defendant is sentenced as provided in pages 2 through _---.;3'--_ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o   The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 3489                        10/21/2010

Defendant's Year of Birth:           1968

City and State of Defendant's Residence:
Marion, IL 62959
                                                                            J. Phil Gilbert                              District Judge



                                                                                                           lJate
          Case 4:99-cr-40036-JPG                      Document 191 Filed 10/28/10   Page 2 of 3         Page ID
AO 245D   (Rev. 12/07) Judgment in a Criminal Case for Revocations #156
          Sheet 1A
                                                                                    Judgment-Page   _.=.2_ of     3
DEFENDANT: STEPHEN L. NEVINGS
CASE NUMBER: 4:99CR40036-003-JPG

                                                    ADDITIONAL VIOLATIONS

                                                                                                           Violation
Violation Number         Nature of Violation                                                              Concluded
Standard # 6             Defendant failed to notify probation of being terminated from his employment     02/18/2009



Standard # 7             The defendant used alcohol excessive                                             03/16/2009



Special                  The defendant consumed alcohol while participating in substance abuse            02/12/2009

                        .··.·t~~~l~·.~.ht'i~.~e~~~;i;i,ii'i."
Special                  The defendant used alcohol regularly after release from half-way house           05/19/2010
              Case 4:99-cr-40036-JPG                       Document 191 Filed 10/28/10            Page 3 of 3           Page ID
  AO 2450      (Rev. 12/07) Judgment in a Criminal Case for Revocations #157
               Sheet 2- Imprisonment

                                                                                               Judgment -   Page   _.;;.3_ of     3
  DEFENDANT: STEPHEN L. NEVINGS
  CASE NUMBER: 4:99CR40036-003-JPG


                                                          IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
12 months 1 day




       t/ The court makes the following recommendations to the Bureau of Prisons:
That the defendant be given credit for time he has served in custody.




       o The defendant is remanded to the custody ofthe United States Marshal.
       o The defendant shall surrender to the United States Marshal for this district:
         o at _ _ _ _ _ _ _ _ _ 0 a.m. o p.m. on
         o as notified by the United States Marshal.
       o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         o before 2 p.m. on
         o as notified by the United States Marshal.
         o as notified by the Probation or Pretrial Services Office.
                                                                RETURN

  I have executed this judgment as follows:




            Defendant delivered on                                                  to

  at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                            UNITED STATES MARSHAL


                                                                      By _____________-~~~~~~~__- - - - - - -
                                                                                         DEPUTY UNITED STATES MARSHAL
